6:18-cv-01932-DCC      Date Filed 07/16/18      Entry Number 1   Page 1 of 54




                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF SOUTH CAROLINA
                       GREENVILLE DIVISION

   UNITED STATES OF AMERICA
   ex rel.
   [UNDER SEAL]

                                                     Civil Action No.
   Relator
                                                TO BE FILED IN
                                                CAMERA AND UNDER
                                                SEAL

   vs.                                  DO NOT PUT IN PRESS BOX
                                        DO NOT ENTER ON PACER

   [UNDER SEAL]

   Defendants.

                 DOCUMENT TO BE KEPT UNDER SEAL

                        DO NOT ENTER ON PACER




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                                       1
6:18-cv-01932-DCC   Date Filed 07/16/18   Entry Number 1   Page 2 of 54




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF SOUTH CAROLINA
                      GREENVILLE DIVISION


   UNITED STATES OF AMERICA
   ex rel.
   DANIEL E. LEE, M.D.

                            CASE NO.
   Relator
                                          Case No.

                                      TO BE FILED IN
                                  CAMERA AND UNDER SEAL

   vs.                            DO NOT PUT IN PRESS BOX
                                  DO NOT ENTER ON PACER


   ST. FRANCIS PHYSICIAN SERVICES, INC.;
   BON SECOURS ST. FRANCIS HEALTH SYSTEM, INC.;
   BON SECOURS MEDICAL GROUP;
   BON SECOURS HEALTH SYSTEM, INC.;
   ST. FRANCIS HOSPITAL, INC. (D/B/A ST. FRANCIS DOWNTOWN,
   ST. FRANCIS EASTSIDE, AND ST. FRANCIS MILLENNIUM);
   and JOHN DOES 1-100.


   Defendants.




                                  2
   6:18-cv-01932-DCC                                 Date Filed 07/16/18                            Entry Number 1                          Page 3 of 54




                                   Relator’s Complaint Under the False Claims Act




Introduction to the Scheme to Reward Patient Referrals ..........................................4
Parties...........................................................................................................................................8
Jurisdiction and Venue ........................................................................................................ 11
Introduction to Federal Stark Laws ................................................................................ 12
Bon Secours’ Strategy to Increase Orthopedic Admissions and
Procedures Profitable for the Hospital System........................................................... 14
    Background to the Employment Agreements with POA Orthopedic Surgeons......... 15
    Terms of the Employment Agreements with POA Orthopedic Surgeons .................... 16
    Introduction to Annual Bonus Pool Payments...................................................................... 20
    The Bonus Pool Incentivized the Surgeons to Generate Referrals to the
    Hospital System................................................................................................................................ 22
    Bonus Supplement Increased to $3.95 Million Per Year with 12-Year
    Commitment...................................................................................................................................... 22
    Amended Employment Agreements Locked the Physicians Into 12-Year
    Term ..................................................................................................................................................... 23
    Defendants Ignored the Compensation Limits in the Employment
    Agreements........................................................................................................................................ 24
    Excessive Payments to the Orthopedic Surgeons ................................................................ 25
      Dr. Jennings ....................................................................................................................................................26
      Dr. Kavolus.....................................................................................................................................................27
      Dr. Ridgeway .................................................................................................................................................27
      Dr. Tollison.....................................................................................................................................................28
      Dr. Womack....................................................................................................................................................28
      Dr. Baumgarten .............................................................................................................................................28
      Dr. Vann........................................................................................................................................................... 29
      Dr. Koch........................................................................................................................................................... 29
      Dr. Paylor ........................................................................................................................................................30
      Dr. Lucas.......................................................................................................................................................... 30
      Dr. Van Pelt ....................................................................................................................................................31
      Dr. Batson........................................................................................................................................................31
      Dr. Tanner .......................................................................................................................................................32
      Dr. Jernigan.....................................................................................................................................................33
    Supplemental Bonus Payments Have Been Budgeted and Disguised as
    Revenues............................................................................................................................................. 33
    The POA Orthopedic Surgeons Do Not Satisfy “Group Practice” Exception


                                                                                    3
     6:18-cv-01932-DCC                         Date Filed 07/16/18                     Entry Number 1                     Page 4 of 54




     Under Stark Laws............................................................................................................................. 34
Compliance with Stark Is Condition of Each Federal Payment.............................. 36
     Compliance with Stark is Condition of Each Medicare Payment .................................... 36
     Compliance with Stark is Condition of Each Medicaid Payment..................................... 40
     Compliance with Stark is Condition of Each TRICARE Payment ..................................... 43
The False Claims Act ............................................................................................................. 45
Count I---Presenting or Causing False Claims in Violation of 31 U.S.C. §
3729(a) (1)(A) Against All Defendants .......................................................................... 46
Count II--- Use of False Statements in Violation of 31 U.S.C.
3729(a)(1)(B) Against All Defendants ........................................................................... 47
Count III--- Conspiring to Submit False Claims in Violation of 31 U.S.C. §
3729(a)(1)(C) Against All Defendants........................................................................... 48
Count IV---Submission of Express and Implied False Certifications in
Violation of 31 U.S.C. § 3729(a)(1)(B) Against All Defendants ............................. 50
Count V---Knowingly Causing and Retaining Overpayments in Violation
of 31 U.S.C. § 3729(a)(1)(G) Against All Defendants................................................... 50
Count VI--- False Record to Avoid an Obligation to Refund Against All
Defendants ............................................................................................................................... 52
Prayers for Relief................................................................................................................... 52
Certificate of Service............................................................................................................. 53



                         Introduction to the Scheme to Reward Patient Referrals

1.           Under the False Claims Act, 31 U.S.C. § 3729 et seq., as amended (“FCA”), Relator

Daniel E. Lee, M.D. states his Complaint against St. Francis Physician Services, Inc., Bon

Secours St. Francis Health System, Inc., Bon Secours Health System, St. Francis Hospital,

Inc. (d/b/a St. Francis Downtown, St. Francis Eastside, and St. Francis Millennium) and

Bon Secours Medical Group (collectively referred to as “the Bon Secours Defendants”)

and John Does 1-100 filed under seal with the Court as follows.

2.           This qui tam case is brought against the Bon Secours Defendants for knowingly

defrauding the federal government in connection with Medicare, Medicaid, TRICARE, and

other government health care programs. Since at least 2006, the Bon Secours Defendants


                                                                         4
     6:18-cv-01932-DCC      Date Filed 07/16/18      Entry Number 1        Page 5 of 54




have engaged in a scheme to pay excessive compensation to employed orthopedic surgeons

who generated significant referrals to the hospital system. The Defendants’ scheme has

deliberately violated federal Stark laws.

3.      In approximately 2006, Piedmont Orthopedic Associates (“POA”) was in the

process of obtaining a certificate of need for operating an outpatient surgery center. In

terms of patient volumes and physician numbers, POA was the leading group of orthopedic

surgeons practicing in the Greenville region.

4.      Saint Francis Hospital had just completed an ambulatory surgery center at their

main campus that was underutilized. St. Francis executives did not want competition for

patients from POA operating an outpatient surgery center. They also wanted POA’s

physicians to refer their patients for surgeries to St. Francis Hospital and the St. Francis

ambulatory surgery center. Consequently, they developed a strategy to lure the POA

surgeons into becoming employees of the hospital system by paying them excessive

compensation, including an annual bonus pool.

5.      Since 2008, the annual bonus pool has been composed of two components: (1) net

professional revenues of the medical practice physician employees and nurse practitioner

employees, and (2) a $3.95 million supplemental bonus payment each year from St. Francis

Physician Services.

6.      Under the employment terms, if the orthopedic surgeons’ had net losses of less than

$3.95 million each year, then they would receive a supplemental bonus payment of $3.95

million each year to be divided among them.




                                             5
     6:18-cv-01932-DCC      Date Filed 07/16/18      Entry Number 1        Page 6 of 54




7.      These bonus pool payments were in addition to payments to each physician based

on work relative value units (“wRVUs”).1

8.      Over the 14-year term of the Employment Agreements from 2006-2020, St. Francis

Physician Services committed to paying at least $53.4 million in supplemental bonus

payments in addition to giving the physicians $75.00 per WRVU and giving the physicians

the net professional revenues of the physician employees and nurse practitioner employees.

9.      St. Francis’ executives offered and agreed to physician compensation terms that

they knew were guaranteed to lose tens of millions of dollars over the 14-year term of the

contracts unless they considered revenues from the physicians’ patient referrals to the

hospital system.

10.     The criteria used to determine whether the $3.95 million bonuses were paid each

year incentivized and rewarded the physicians for generating referrals to the hospital

system for physical therapy, laboratory, radiology, and other ancillary services. In

calculating losses or gains of the practice, “Net charges are determined based on actual

payments received for that month and YTD as a percentage of gross charges (gross charges

produced by physicians, nurse practitioners, physician assistants, physical therapists) as

well as in-office laboratory & radiology and other in-office ancillary procedures as they

may change from time-to-time.” Employment Agreement, Exhibit 4.1.1, Par. 3, page 23.

Therefore, net charges included physical therapy, laboratory, radiology, and other


1  The most common measure of physician productivity is work relative value units
(wRVUs). These units reflect the level of time, skill, training, and intensity required of a
physician to provide a given service. These units are the leading method for calculating the
volume of work or effort expended by a physician in treating patients. Under this relative
scale, a physician seeing two or three complex or high acuity patients per day would
accumulate more RVUs than a physician seeing lower acuity patients each day.


                                             6
    6:18-cv-01932-DCC        Date Filed 07/16/18      Entry Number 1        Page 7 of 54




“ancillary procedures.” These charges did not represent the orthopedic surgeons’ personal

or supervised services, but rather revenues from their referrals to the hospital system.

11.    The physicians’ were incentivized to order physical therapy, laboratory, radiology,

and other “ancillary procedures.” The more they ordered, the higher the net charges

credited to the practice, the lower the losses from their practice, and the more likely they

would receive a $3.95 million supplemental bonus payment each year.

12.    In implementing this financial strategy, St. Francis executives calculated that the

excessive compensation to the orthopedic surgeons would be more than offset by increased

revenues from their lucrative referrals to the hospital system.

13.    Federal Stark laws prohibit the United States from paying for designated health

services (“DHS”) referred by physicians who have improper financial relationships with

the DHS provider or hospital. In addition to prohibiting the hospital from submitting claims

under these circumstances, the Stark laws also prohibit payments by federal health care

programs of such claims: "No payment may be made under this subchapter for a designated

health service which is provided in violation of subsection (a)(1) of this section." 42 U.S.C.

§1395nn (g)(1).2

14.    Under Stark laws, a hospital employing and paying a physician who refers

Medicare and Medicaid patients must satisfy the four statutory requirements for "bona fide

employment relationships": (1) the “employment is for identifiable services,” (2) “the



2
  “Designated health services” include “any of the following items or services: “clinical
laboratory services, physical therapy services, occupational therapy services, radiology
services...radiation therapy services and supplies, durable medical equipment and supplies,
parenteral and enteral nutrients, equipment and supplies, prosthetics, orthotics and
prosthetic devices and supplies, home health services, outpatient prescription drugs,
inpatient and outpatient hospital services.” 42 U.S.C. §1395nn (h)(6).

                                              7
  6:18-cv-01932-DCC         Date Filed 07/16/18       Entry Number 1       Page 8 of 54




amount of the remuneration under the employment...is consistent with the fair market value

of the services” personally provided by the physician, (3) the remuneration “is not

determined in a manner that takes into account (directly or indirectly) the volume or value

of any referrals by the referring physician,” and (4) “the remuneration is provided pursuant

to an agreement which would be commercially reasonable even if no referrals were made

to the employer.” 42 U.S.C.S. § 1395nn (e)(2). The Bon Secours Defendants have

repeatedly violated these requirements of federal law and excessively paid orthopedic

surgeons based in part on revenues from their referrals to the hospital system.

15.    The Defendants’ scheme has caused major damages to federal health care

programs, including patients covered under Medicare, Medicaid, or TRICARE in addition

to federal employees and retired federal employees. Since 2013, St. Francis Hospital has

received over $568 million from the Medicare Program. Medicare payments account for

approximately 22 percent of the hospital system’s net revenues each year.

16.    A significant portion of such Medicare payments derived from inpatient and

outpatient referrals by orthopedic surgeons receiving excessive payments from the Bon

Secours Defendants in violation of Stark laws. Between 2012 and the present, the

Defendants submitted thousands of false claims arising from such referrals both for specific

services provided to beneficiaries of federal health care programs and claims for general

and administrative costs incurred in treating such beneficiaries.


                                          Parties


17.     Relator Daniel Lee, M.D. is an orthopedic surgeon in private practice in Greenville,

South Carolina. He has practiced medicine in Greenville, South Carolina since his training



                                             8
  6:18-cv-01932-DCC         Date Filed 07/16/18       Entry Number 1       Page 9 of 54




internship and residency at Greenville Memorial Hospital System from 1988-1993. He

graduated from Medical University of South Carolina in 1988 and has been licensed to

practice medicine in South Carolina since 1988.

18.    From approximately 2007-2010, Defendant St. Francis Physician Services

employed Dr. Lee as an orthopedic surgeon. He served as Chief of Orthopedics at Bon

Secours St. Francis Health System from approximately 2007-2008 during his employment.

He continues to hold privileges at St. Francis Hospital. He also has privileges at Greenville

Hospital System, Regency Hospital Company, and AnMed Cannon Memorial Hospital.

19.    Through his work and experience, Dr. Lee has direct, detailed, and personal

knowledge that the Bon Secours Defendants have violated Stark laws in their excessive

payments to employed orthopedic surgeons based in part on the value of their referrals to

the hospital system.

20.    Defendant Bon Secours St. Francis Health System operates a major healthcare

system in the Greenville region, including hospitals, outpatient and ambulatory surgery

centers, physician offices, and multiple clinics and facilities. Defendant Bon Secours St.

Francis Health System, Inc. is organized as a tax-exempt “charitable” entity under Section

501(c)(3) of the Internal Revenue Code and has its principal place of business located at

One St. Francis Drive, Greenville, SC 29601. Bon Secours St. Francis Health System, Inc.

is the parent organization of the local healthcare system and is controlled by Defendant

Bon Secours Health System, Inc.

21.    Defendant St. Francis Hospital, Inc. is a part of the Bon Secours St. Francis Health

System and organized as a tax-exempt “charitable” entity under Section 501(c)(3) of the

Internal Revenue Code. St. Francis Hospital includes St. Francis Hospital Downtown, St.



                                             9
 6:18-cv-01932-DCC          Date Filed 07/16/18      Entry Number 1        Page 10 of 54




Francis Eastside, and St. Francis Millennium. St. Francis Downtown includes a 245-bed

hospital and the St. Francis Outpatient Center. St. Francis Eastside was formerly known as

St. Francis Women’s & Family Hospital. St. Francis Eastside includes a 93-bed hospital

and two medical office buildings. St. Francis Millennium includes a fitness center, weight

loss center, sleep center, cardiac testing, outpatient rehabilitation, laboratory, radiology,

and physician offices.

22.    Defendant St. Francis Physician Services, Inc. (“SFPS”) is organized as a tax-

exempt “charitable” entity under Section 501(c)(3) of the Internal Revenue Code and has

its principal place of business located at One St. Francis Drive, Greenville, SC 29601. Bon

Secours St. Francis Health System, Inc. controls SFPS and uses this entity to employ

physicians within the health system, including but not limited to primary care physicians,

urgent care physicians, and orthopedic surgeons.

23.    Defendant Bon Secours Health System, Inc. has its headquarters located at 1505

Marriottsville Road, Marriottsville, MD 21104. Bon Secours Health System, Inc. is the

parent organization that provides management oversight over Bon Secours St. Francis

Health System, Inc. and its subsidiaries.

24.    Defendant Bon Secours Medical Group is a network of physicians and practitioners

employed within the Bon Secours St. Francis Health System. Bon Secours Medical Group

has provided financial, accounting, and management services to the orthopedic surgeons

employed by St. Francis Physician Services.

25.    The identities of the remaining Doe defendants who knowingly submitted or caused

the submission of false claims to the United States are presently unknown to Relator. All

listed Defendants and such additional Doe defendants have served as contractors, agents,



                                            10
 6:18-cv-01932-DCC          Date Filed 07/16/18      Entry Number 1        Page 11 of 54




partners, and/or representatives of one and another in the submission of false claims to the

United States and were acting within the course, scope and authority of such contract,

conspiracy, agency, partnership and/or representation for the conduct described below.


                                 Jurisdiction and Venue

26.    This Court has jurisdiction over the subject matter of this action under 28 U.S.C. §

1331, 28 U.S.C. § 1367, and 31 U.S.C. § 3732, the latter of which specifically confers

jurisdiction on this Court for actions brought under 31 U.S.C. §§ 3729 and 3730.

27.     Personal jurisdiction and venue are proper in this District under 28 U.S.C. §§

1391(b) and 1395(a) and 31 U.S.C. § 3732(a), as Defendants transacted business or

otherwise engaged in illegal conduct at issue within the District.

28.    Section 3732(a) of the False Claims Act provides, “Any action under section 3730

may be brought in any judicial district in which the defendant or, in the case of multiple

defendants, any one defendant can be found, resides, transacts business, or in which any

act proscribed by section 3729 occurred.”

29.     This action arises under the provisions of Title 31 U.S.C. § 3729, et seq, popularly

known as the False Claims Act which provides that the United States District Courts shall

have exclusive jurisdiction over actions brought under that Act.

30.    This action seeks recovery under the False Claims Act for violations of Stark laws

with respect to Defendants’ claims for payments by federal health care programs.

31.    Prior to filing this case, Relator, through his counsel, delivered a draft copy of the

Complaint and his written Disclosure of substantially all material evidence and information

in his possession to the United States Attorney’s Office for the District of South Carolina

and the United States Attorney General’s Office.

                                            11
    6:18-cv-01932-DCC        Date Filed 07/16/18       Entry Number 1        Page 12 of 54




                           Introduction to Federal Stark Laws

32.     Enacted in 1989 to contain health care costs and reduce conflicts of interests, the

Stark laws generally prohibit physicians from referring3 their Medicare patients to business

entities, such as hospitals or laboratories, with which the physicians or their immediate

family members have a “financial relationship.” 42 U.S.C. §1395nn(a)(1); see generally

42 C.F.R. §§ 411.350-.389 (“Subpart J---Financial Relationships Between Physicians and

Entities Furnishing Designated Services”). Subsequent amendments later extended certain

aspects of Stark Laws to Medicaid patients. See 42 U.S.C. §1396b(s).

33.     The statute and regulations further prohibit any entity from submitting a Medicare

claim for services rendered pursuant to a prohibited referral, 42 U.S.C. §1395nn(a)(1)(B);

42 C.F.R. §411.353(b), prohibit Medicare from paying any such claims, 42 U.S.C.

§1395nn(g)(1); 42 C.F.R. §411.353(c), and require an entity that receives payment for such

a claim to reimburse the funds to the United States, 42 C.F.R. §411.353(d).

34.     The Stark laws define a “financial relationship” to include a “compensation

arrangement,” 42 U.S.C. §1395nn(a)(2), which means “any arrangement involving any

remuneration between a physician (or an immediate family member of such physician) and

an entity.” See 42 U.S.C. §1396nn(H)(1)(A).


3  The Stark Statute defines "referral" as "the request or establishment of a plan of care by
a physician which includes the provision of designated health services." 42 U.S.C. §
1395nn (h) (5) (A). The accompanying regulations also broadly define "referral" as, among
other things, "a request by a physician that includes the provision of any designated health
service for which payment may be made under Medicare, the establishment of a plan of
care by a physician that includes the provision of such a designated health service, or the
certifying or recertifying of the need for such a designated health service . . . ." 42 C.F.R §
411.351. A referring physician is defined in the same regulation as "a physician who makes
a referral as defined in this section or who directs another person or entity to make a referral
or who controls referrals made to another person or entity." Id.


                                              12
 6:18-cv-01932-DCC           Date Filed 07/16/18         Entry Number 1     Page 13 of 54




35.     In turn, “remuneration” is broadly defined to include “any remuneration, directly

or indirectly, overtly or covertly, in cash or in kind.” 42 U.S.C. §1395nn(h)(1)(B); see also

42 C.F.R. §411.351 (“Remuneration means any payment or other benefit made directly or

indirectly, overtly or covertly, in cash or in kind”).

36.     Congress enacted the Stark Statute in two parts, commonly known as Stark I and

Stark II. Enacted in 1989, Stark I applied to referrals of Medicare patients for clinical

laboratory services made on or after January 1, 1992 by physicians with a prohibited

financial relationship with the clinical lab provider. See Omnibus Budget Reconciliation

Act of 1989, P.L. 101-239, § 6204.

37.     In 1993, Congress extended the Stark Statute (Stark II) to referrals for ten additional

designated health services. See Omnibus Reconciliation Act of 1993, P.L. 103-66, § 13562,

Social Security Act Amendments of 1994, P.L. 103-432, § 152. As of January 1, 1995,

Stark II applied to patient referrals by physicians with a prohibited financial relationship

for the following ten additional “designated health services”: (1) inpatient and outpatient

hospital services; (2) physical therapy; (3) occupational therapy; (4) radiology; (5)

radiation therapy (services and supplies); (6) durable medical equipment and supplies; (7)

parenteral and enteral nutrients, equipment and supplies; (8) prosthetics orthotics, and

prosthetic devices and supplies; (9) outpatient prescription drugs; and (10) home health

services. See 42 U.S.C. § 1395nn(h)(6).

38.     Any remuneration or benefit given by a hospital to a physician must be based solely

on the physician’s personal labor. In pertinent part, the statutory language focuses on “the

fair market value of the services” personally performed by the physician. 42 U.S.C.S. §

1395nn (e)(2). The Stark laws prohibit a hospital from offering or giving remuneration or



                                              13
 6:18-cv-01932-DCC          Date Filed 07/16/18       Entry Number 1        Page 14 of 54




benefits to referring physicians “in a manner that takes into account (directly or indirectly)

the volume or value of any referrals by the referring physician.” 42 U.S.C.S.

§1395nn(e)(2).

39.      The Stark laws also require that physician remuneration must be “provided pursuant

to an agreement which would be commercially reasonable even if no referrals were made”

to the hospital. 42 U.S.C.S. § 1395nn (e)(2).

40.      A hospital employing a physician who makes referrals to that hospital of Medicare

and Medicaid patients must satisfy the statutory requirements for "bona fide employment

relationships." Under the Stark laws, a “bona fide employment relationship” must satisfy

the following four relevant requirements: (1) the “employment is for identifiable services,”

(2) “the amount of the remuneration under the employment...is consistent with the fair

market value of the services” personally provided by the physician, (3) the remuneration

“is not determined in a manner that takes into account (directly or indirectly) the volume

or value of any referrals by the referring physician,” and (4) “the remuneration is provided

pursuant to an agreement which would be commercially reasonable even if no referrals

were made to the employer.” 42 U.S.C.S. § 1395nn (e)(2).

41.      The Bon Secours Defendants have repeatedly violated these requirements of Stark

laws.

42.      Once the plaintiff or the government has established proof of each element of a

Stark violation, the burden shifts to the defendant to establish that the conduct was

protected by an exception. If no exception applies to a Stark violation, then all referrals

from the referring physician to the DHS entity or hospital are subject to prohibition.


        Bon Secours’ Strategy to Increase Orthopedic Admissions and Procedures


                                             14
 6:18-cv-01932-DCC         Date Filed 07/16/18       Entry Number 1        Page 15 of 54




                           Profitable for the Hospital System


         Background to the Employment Agreements with POA Orthopedic
                                  Surgeons

43.    As mentioned above, in approximately 2006, Piedmont Orthopedic Associates

(“POA”) was in the process of obtaining a certificate of need for operating an outpatient

surgery center. In terms of patient volumes and numbers of physicians, POA was the

leading group of orthopedic surgeons practicing in the Greenville region. At that time,

POA was negotiating with HealthSouth to purchase the surgery center called Piedmont

Surgery Center.

44.    Saint Francis Hospital had just completed an ambulatory surgery center at their

main campus that was underutilized. St. Francis executives did not want competition for

patients from POA surgeons operating an outpatient surgery center. They also wanted

POA’s physicians to bring their patients for surgeries to St. Francis Hospital and the St.

Francis ambulatory surgery center. Consequently, they developed a strategy to lure the

POA surgeons into becoming employees of the St. Francis system by paying them

excessive compensation.

45.    When POA surgeons became employees of St. Francis Physician Services instead

of purchasing the surgery center, Dr. Lee led a group of physicians attempting to buy the

surgery center. Dr. Lee was the only orthopedic surgeon in the group. The other physicians

were ophthalmologists and ENT physicians.

46.    In the midst of this effort to buy the surgery center, St. Francis executives recruited

Dr. Lee and offered him employment with the St. Francis system and a position as Chief

of Orthopedics at Bon Secours St. Francis Health System.



                                            15
 6:18-cv-01932-DCC         Date Filed 07/16/18     Entry Number 1       Page 16 of 54




47.    From approximately 2007-2010, Defendant St. Francis Physician Services

employed Dr. Lee as an orthopedic surgeon. He served as Chief of Orthopedics at Bon

Secours St. Francis Health System from approximately 2007-2008.

48.    After St. Francis hired him, Dr. Lee witnessed the unusual power that POA

surgeons exerted within the St. Francis system, including the right of first refusal with

respect to any new orthopedic surgeons hired by St. Francis.

49.    Dr. Lee voluntarily left St. Francis Physician Services in 2010 to return to

independent practice. But the POA orthopedic surgeons have remained as employees of St.

Francis under an extraordinary 14-year compensation package that extends through 2020.


            Terms of the Employment Agreements with POA Orthopedic
                                   Surgeons

50.    In approximately 2006, Defendant St. Francis Physician Services, Inc. entered into

a Physician Employment Agreement with each orthopedic surgeon of POA. Each

Employment Agreement with each orthopedic surgeon was similar in substance, terms, and

compensation structure. During the years in question, there have been 16 POA orthopedic

surgeons employed by St. Francis Physician Services.

51.    The Employment Agreement begins by stating St. Francis Physician Services is

“affiliated with St. Francis Hospital, Inc. (‘St. Francis’) and St. Francis Women’s and

Family Hospital (‘Women’s Hospital’ and, together with St. Francis Hospital, the

“Hospitals”) and, in connection therewith, operates a medical practice (the ‘Medical

Practice’) and employs physicians to provide medical care to patients.” Physician

Employment Agreement, Background, Paragraph A, p. 1.




                                           16
 6:18-cv-01932-DCC         Date Filed 07/16/18       Entry Number 1       Page 17 of 54




52.     The Employment Agreement provided that each orthopedic surgeon “shall be

subject to the general supervision and direction of the Employer, acting by and through its

Board of Directors and the duly authorized officers of the Hospitals.” Physician

Employment Agreement, Par. 1.1. The officers of St. Francis Hospital and St. Francis

Women’s Hospital have had the contractual authority to supervise and direct each

orthopedic surgeon.

53.    Under the Employment Agreement, each orthopedic surgeon was required to

“devote Physician’s entire working time to the Hospitals and the medical practice.”

Employment Agreement, Par. 1.4.1.

54.    Each orthopedic surgeon was contractually required to “promote and enhance the

efficient operation and functioning of the Hospitals and the Medical Practice.”

Employment Agreement, Par. 2.1.

55.    Each orthopedic surgeon was required to follow the “Hospitals’ procedures for the

timely completion of accurate records, reflecting the time spent furnishing the Physician’s

services.” Employment Agreement, Par. 2.4.2.

56.    Each orthopedic surgeon relinquished the right to bill and collect for his or her

professional services. “All fees or other income attributable to the professional services

rendered by Physician in the course of Physician’s employment by Employer shall be the

income of the Employer and Physician hereby assigns the same to Employer.” Employment

Agreement, Par. 2.5. “Employer shall have the right to bill for, collect, and retain any and

all revenues for patient care services rendered by Physician hereunder.” Id.

57.    Under the Employment Agreements, each orthopedic surgeon was required to refer

all patients to the St. Francis system except in limited circumstances. Each orthopedic



                                            17
 6:18-cv-01932-DCC           Date Filed 07/16/18     Entry Number 1        Page 18 of 54




surgeon was required to “utilize services available from Employer.” Employment

Agreement, Par. 2.6. “Physician shall utilize the services of facilities other than Employer

only when such services are (i) medically necessary, as determined by Physician and

appropriate and are in the patient’s best medical interest, (ii) required by the terms of a

patient’s enrollment or participation in an insurance or other health care plan, or (iii)

requested by patient.” Id.

58.    The Employment Agreement further required each orthopedic surgeon to

“participate in those managed care contracts selected by Employer, including, without

limitation, all group contracts held by Employer.” Employment Agreement, Par. 2.7.

“Without the prior written approval of Employer, Physician may not enter into managed

care contracts other than through a group contract of Employer.” Id.

59.    The Employment Agreement required that each orthopedic surgeon “shall be

certified to participate in Medicare, Medicaid, Tricare and other federal health

programs…” Employment Agreement, Par. 1.2.2. The Employment Agreement also

required each orthopedic surgeon to “comply with all federal and state statutes, regulations,

and rules pertaining to Medicare, Medicaid, Tricare and other federal and state program

reimbursement…” Employment Agreement, Par. 2.9.

60.    The Employment Agreement also confirmed that all non-physician staff working

at the medical practice were employees of St. Francis Physician Services, Inc. or the

Hospitals. Employment Agreement, Par. 2.13.3.

61.    Each orthopedic surgeon was also required to participate in “developing a schedule

for ensuring prompt and predictable availability of medical services at the Hospitals.”

Employment Agreement, Par. 2.13.8.



                                             18
 6:18-cv-01932-DCC          Date Filed 07/16/18      Entry Number 1        Page 19 of 54




62.     The Employment Agreement also prohibited each orthopedic surgeon from

soliciting the services of any employee of Employer or the Hospitals during “the term of

this Agreement.” Employment Agreement, Par. 5.3.

63.     The original Employment Agreement for each orthopedic surgeon had an effective

date of September 1, 2006 and “shall continue for a term of ten (10) years.” Employment

Agreement, Par. 3.1.

64.     The Employment Agreement required St. Francis Physician Services to pay

extensive benefits for the orthopedic surgeons as described in Exhibit 4.2, including “all

reasonable and necessary out-of-pocket expenses incurred by Physician,” (Paragraph 4.3),

professional liability coverage (Par. 4.5), and “appropriate office space and support staff.”

(Par. 4.6).

65.     Each orthopedic surgeon also entered into a Medical Records Custody Agreement

and Business Associate Agreement with St. Francis Physician Services, Inc. effective

September 1, 2006 for the confidentiality of patients’ protected health information.

66.     The compensation and productivity payments were referenced in Paragraph 4.1.1

and provided in Exhibit 4.1.1 to the Employment Agreement.

67.     The Employment Agreements for each orthopedic surgeon provided for base

compensation, productivity compensation, and bonus compensation.

68.     For each surgeon’s “initial 12 months of employment, the annual Base

Compensation amount will be 70% of the greater of Physician’s total actual compensation

as reflected on Physician’s IRS Form W-2 for 2004 or 2005.” Employment Agreement,

Exhibit 4.1.1, Par. 1, page 19. “For subsequent years of employment, which shall be the




                                            19
 6:18-cv-01932-DCC         Date Filed 07/16/18       Entry Number 1         Page 20 of 54




annual base compensation is 70% of the previous year’s actual total physician

compensation (W2 salary) annualized as necessary to comprise twelve (12 months).” Id.

69.    Each surgeon’s productivity compensation “shall be calculated…on the basis of

actual Work Relative Value Units (WRVU’s) attributable to services personally performed

by Physician each month multiplied by the appropriate WRVU conversion factor and

subtracting from the product thereof the monthly Base Compensation paid to Physician.”

Employment Agreement, Exhibit 4.1.1, Par. 2, page 19. “The remainder, if positive, is the

amount of Productivity Compensation to be paid for such month.”

70.    “In calculating Productivity Compensation, Employer shall use the following

orthopaedic specialty WRVU conversion factors in respect of the WRVU’s performed

during the month in question.” Employment Agreement, Exhibit 4.1.1, Par. 2, page 20.

The original agreed conversion factor was $64.00 per WRVU for all orthopedic specialties

regardless of physician credentials or experience and regardless of collections for the

physicians’ services. In September of 2008, St. Francis increased the compensation

conversion factor to $75.00 per WRVU for all physicians of POA regardless of credentials

or experience and regardless of collections for the physicians’ services.


                     Introduction to Annual Bonus Pool Payments

71.    Under the Employment Agreements, St. Francis Physician Services, Inc. also

committed to paying the orthopedic surgeons “bonus compensation based on practice

financial performance.” Employment Agreement, Exhibit 4.1.1, Par. 3, page 20. Each

orthopedic surgeon “shall receive a percentage share of the Bonus Compensation Pool

equal to Physician’s percentage share of the productivity of the Medical Practice, as

measured in WRVU’s.” Id.


                                            20
    6:18-cv-01932-DCC       Date Filed 07/16/18       Entry Number 1        Page 21 of 54




72.     “The amount of the Bonus Compensation Pool shall be determined as follows:

Employer shall (i) subtract from the aggregate collected professional revenues of the

Medical Practice Physicians and Medical Practice Nurse Practitioner Employees, as

defined herein, any and all direct and indirect expenses incurred by the Medical Practice

as set forth on Exhibit 4.1.1(a) with the exception of hard asset rent payment 4 and (ii) add

to the remainder a practice loss adjustment factor of $3,000,000.00 per year or such other

amount as mutually agreed to by the parties.” Employment Agreement, Exhibit 4.1.1, Par.

3, page 21.

73.     Under Exhibit 4.1.1(a), “Employer shall use an adjustment factor in calculating the

Bonus Compensation Pool amount; the adjustment factor is the amount of the net loss

target deems acceptable for the Medical Practice for a given fiscal year.” “The Bonus

Compensation Pool is calculated in a manner that funds such pool in the event the actual

net loss for the Medical Practice is less than the target set by employer for such year.” Id.

“The net loss target is $3,000,000.00 per year during the term of contract or such other

amount as mutually agreed to by the parties.” Id.

74.     Under the original terms, if the overall practice had net losses of less than $3

million, then the physicians would receive a supplemental bonus payment of $3 million

each year to be divided among them. Over the original 10-year term of the Employment

Agreements from 2006-2016, St. Francis Physician Services committed to paying $30


4  In October of 2009, St. Francis Physician Services and the orthopedic surgeons amended
the Employment Agreement again to provide that St. Francis’ lease payments for medical
equipment in excess of 6 percent of the surgeons’ total practice revenue “shall now be
included in the expenses of the Medical Practice for purposes of the calculation of the fiscal
year-end financial performance bonus.” Second Amendment to Physician Employment
Agreement, “Recitals,” p. 1.


                                             21
 6:18-cv-01932-DCC          Date Filed 07/16/18       Entry Number 1         Page 22 of 54




million in supplemental bonus payments to the orthopedic surgeons if the financial losses

from their practice were less than $3 million each year.


         The Bonus Pool Incentivized the Surgeons to Generate Referrals to
                               the Hospital System


75.    The criteria used to determine whether the $3 million supplemental bonuses were

paid each year incentivized and rewarded the physicians for generating referrals to the

hospital system for physical therapy, laboratory, radiology, and other ancillary services. In

calculating losses or gains of the practice, “Net charges are determined based on actual

payments received for that month and YTD as a percentage of gross charges (gross charges

produced by physicians, nurse practitioners, physician assistants, physical therapists) as

well as in-office laboratory & radiology and other in-office ancillary procedures as they

may change from time-to-time.” Employment Agreement, Exhibit 4.1.1, Par. 3, page 23.

Therefore, net charges included laboratory, radiology, physical therapy, and other

“ancillary procedures.” These charges did not represent the orthopedic surgeons’ personal

services, but rather revenues from their referrals to the hospital system.

76.    The physicians’ were incentivized to order physical therapy, laboratory, radiology,

and ancillary services. The more they ordered, the higher the net charges credited to their

practice, the lower the losses from their practice, and the more likely they would receive

and share a $3.0 million supplemental payment each year into the physician bonus pool.


        Bonus Supplement Increased to $3.95 Million Per Year with 12-Year
                                 Commitment

77.    Despite the ten-year term of the original Employment Agreements entered in 2006,

St. Francis Physician Services agreed to amend the Employment Agreements in 2008 to



                                             22
 6:18-cv-01932-DCC          Date Filed 07/16/18     Entry Number 1       Page 23 of 54




increase the surgeons’ compensation per WRVU from $64.00 to $75.00 and to increase

their supplemental bonus payments each year from $3.0 million to $3.95 million.

78.    Under the First Amendment to Physician Employment Agreement, if the

orthopedic surgeons’ practice losses were less than $3.95 million each year, then they

would receive an annual bonus payment of $3.95 million. See First Amendment to

Physician Employment Agreement, Par. 6.

79.    The First Amendment also extended the term of the deal, including the bonus

payments, for 12 years from September 1, 2008 through September 1, 2020.

80.    Over the 12-year term, St. Francis Physician Services committed to paying the

orthopedic surgeons $47.4 million in supplemental bonus payments in addition to the $6.0

million paid in the prior two years.

81.    In guaranteeing over $50 million in supplemental bonus payments, St. Francis

Physician Services induced the physicians to enter into a 14-year term of employment with

14 years of patient referrals to the Bon Secours St. Francis Health System.


         Amended Employment Agreements Locked the Physicians Into 12-
                               Year Term

82.    The First Amendment also restricted the orthopedic surgeons’ options to terminate

the Employment Agreements and prohibited the physicians from leaving St. Francis to

practice medicine in six different South Carolina counties. See First Amendment, Par. 3.

The First Amendment added Section 3.2.2.3 which addressed when the orthopedic

surgeons may terminate the Employment Agreement: “Upon twenty-four (24) months prior

written notice to Employer in the event that Physician is either: (a) permanently retiring

from the practice of medicine; or (b) relocating his medical practice outside of the



                                           23
    6:18-cv-01932-DCC      Date Filed 07/16/18      Entry Number 1       Page 24 of 54




following South Carolina counties: Greenville, Anderson, Spartanburg, Pickens, Laurens

and Buncombe.”

83.     The First Amendment locked the orthopedic surgeons into a 12-year employment

term in which they could realistically only terminate the Agreement if they retired from

practicing medicine or moved outside of the region.5


          Defendants Ignored the Compensation Limits in the Employment
                                   Agreements

84.     The original Employment Agreement contains a “total compensation limitation”

for each orthopedic surgeon. “Notwithstanding the provisions of Section 2 above, except

as provided herein Physician Total Compensation in any year shall not exceed the 90 th

percentile level for total compensation for Physician’s specialty as published by the

Medical Group Management Association (‘MGMA’) Southern Region for the most recent

year available.” See Employment Agreement, Exhibit 4.1.1, p. 21.            “In the event

Physician’s total patient encounters (WRVU’S) for a given fiscal year exceed the total

patient encounters associated with the 90th percentile level referenced above, Employer

will present and review such matter with appropriate internal committee(s).”




5  In addition the original Employment Agreement provided that the physicians could only
terminate the Agreement if St. Francis Physician Services failed to cure a material breach
after 30 days written notice or in event of “administrative change in employment involving
the CEO Bon Secours St. Francis Health System and/or Executive Vice President of St.
Francis Physician Services, Inc.” See Employment Agreement, Section 3.2.2.1 and Section
3.2.2.2. If there was such an administrative change, the physician was required to give 365
days notice of termination.


                                           24
    6:18-cv-01932-DCC       Date Filed 07/16/18      Entry Number 1       Page 25 of 54




85.      St. Francis Physician Services has ignored the “total compensation limitation” and

has regularly paid the orthopedic surgeons in excess of the national 90 th percentile and in

excess of the Southern 90th percentile as reported by MGMA6 for such specialties.


                    Excessive Payments to the Orthopedic Surgeons

86.      On January 10, 2015, Piedmont Orthopedics Associates held their “Annual

Partners’ Meeting” at Greenville Country Club. In attendance were the orthopedic surgeons

of POA and executives of Bon Secours Medical Group and Bon Secours St. Francis Health

System.

87.      At this meeting, executives of the Bon Secours Defendants distributed the

“Piedmont Orthopaedic Associates Financial Summary Sept 2013-Aug 2014.” They also

distributed the “Piedmont Orthopaedic Associates Financial Summary Sept 2014-Nov

2014.”

88.      These Financial Summary reports reveal the excessive compensation paid by the

Bon Secours Defendants to the orthopedic surgeons.

89.      Each year from 2008 through the present, the orthopedic surgeons have been paid

excessive amounts in relation to their collections, productivity, and MGMA benchmarks.

Each year the orthopedic surgeons have shared in a $4 million supplemental bonus payment

that was not commercially reasonable and not based on legitimate performance criteria.

Each year the surgeons have shared in a bonus pool calculated in part based on revenues




6 Each year Medical Group Management Association (“MGMA”) surveys medical
practices nationally to obtain the most recent physician compensation and
production data. The MGMA Physician Compensation and Production Surveys are
leading benchmarking resources for physician compensation in the United States.


                                            25
 6:18-cv-01932-DCC          Date Filed 07/16/18       Entry Number 1    Page 26 of 54




from their referrals of patients for laboratory, physical therapy, radiology and other

ancillary services to the hospital system.

90.    For example in Fiscal Year (FY) 2014, overall the orthopedic surgeons generated

collections of approximately $14.29 million. Yet they were paid $17.91 million. 14 of the

16 orthopedic surgeons were paid at levels far in excess of the value of their personal

services as measured by collections. 14 of the 16 orthopedic surgeons were paid at levels

exceeding the national 90th percentile compensation to collections ratios according to

MGMA data.

91.    The following provides examples of excessive payments to the orthopedic

surgeons. The physician compensation and productivity percentiles cited below are based

on surveys published by MGMA using national data for 2014.


                                       Dr. Jennings

92.    For example, in FY 2014 ending August 31, 2014, Dr. Jennings, a hip and joint

orthopedic surgeon, was paid approximately $1.80 million. His compensation exceeded the

national 90th percentile for hip and joint orthopedic surgeons ($1,116,691.41) by

approximately $587,000.00. His compensation exceeded the Southern 90th percentile

($1,217,315.68) by approximately $487,000.00.

93.    In FY 2014 the collections for Dr. Jennings’ services totaled $1,418,093.72. His

compensation to collections ratio was approximately 1.27----exceeding the national 90th

percentile of .96. His collections per wRVU were approximately $77.39 ---placing him

between the national 25th percentile ($68.88) and the national median ($80.99). Yet his

compensation per wRVU was approximately $98.07---just under the national 90th

percentile of $105.42.


                                             26
 6:18-cv-01932-DCC          Date Filed 07/16/18       Entry Number 1      Page 27 of 54




                                       Dr. Kavolus

94.    For Fiscal Year (FY) 2014 ending August 31, 2014, Dr. Kavolus, a hip and joint

orthopedic surgeon, was paid approximately $1.73 million. His compensation exceeded the

national 90th percentile for hip and joint orthopedic surgeons ($1,116,691.41) by

approximately $618,000.00. His compensation exceeded the Southern 90th percentile

compensation ($1,217,315.68) by approximately $517,000.00.

95.    His compensation to collections ratio was approximately 1.26----exceeding the

national 90th percentile of .96. His collections per wRVU were $78.11---placing him

between the national 25th percentile ($68.88) and the national median ($80.99). Yet his

compensation per wRVU was approximately $98.07---just under the national 90th

percentile of $105.42.


                                      Dr. Ridgeway

96.    For Fiscal Year (FY) 2014 ending August 31, 2014, Dr. Ridgeway, a hip and joint

orthopedic surgeon, was paid approximately $1.22 million. His compensation exceeded the

national 90th percentile ($1,116,691.41) and exceeded the Southern 90th percentile

($1,217,315.68) for hip and joint orthopedic surgeons.

97.    While paid in excess of the national 90th percentile, the collections for Dr.

Ridgeway’s services totaled $990,984.11---between the national 25th percentile

($819,680.43) and national median ($1,027,348). His compensation to collections ratio

was approximately 1.23----exceeding the national 90th percentile of .96. His collections per

wRVU were $79.44, placing him between the national 25th percentile ($68.88) and the

national median ($80.99). Yet his compensation per wRVU was approximately $98.07---

just under the national 90th percentile of $105.42.


                                             27
 6:18-cv-01932-DCC         Date Filed 07/16/18       Entry Number 1    Page 28 of 54




                                      Dr. Tollison

98.    For Fiscal Year (FY) 2014 ending August 31, 2014, Dr. Tollison, a foot and ankle

orthopedic surgeon, was paid approximately $1.50 million. His compensation exceeded the

national 90th percentile ($821,685.66) by approximately $677,000.00 and exceeded the

Southern 90th percentile compensation ($1,096,987.75) by approximately $401,000.00.

99.    His compensation to collections ratio was approximately 1.36----exceeding the

national 90th percentile of .83. His collections per wRVU were $72.02---placing him just

above the national 25th percentile ($69.31). Yet his compensation per wRVU was

approximately $98.07---above the national 90th percentile of $84.43.




                                     Dr. Womack

100. For Fiscal Year (FY) 2014 ending August 31, 2014, Dr. Womack, a foot and ankle
orthopedic surgeon, was paid approximately $1.28 million. His compensation exceeded the

national 90th percentile ($821,685.66) by approximately $460,000.00 and exceeded the

Southern 90th percentile compensation ($1,096,987.75) by approximately $185,000.00.

101. In FY 2014, his compensation to collections ratio was approximately 1.39----far
above the national 90th percentile of .83 according to MGMA data. His collections per

wRVU were $70.38---placing him at the national 25th percentile ($69.31). Yet his

compensation per wRVU was approximately $98.07---above the national 90th percentile of

$84.43 according to MGMA data.


                                   Dr. Baumgarten

102. For Fiscal Year (FY) 2014 ending August 31, 2014, Dr. Baumgarten, a sports
medicine orthopedic surgeon, was paid approximately $1.70 million. His compensation


                                           28
 6:18-cv-01932-DCC        Date Filed 07/16/18     Entry Number 1      Page 29 of 54




exceeded the national 90th percentile ($1,104,664.36) by approximately $600,000.00 and

exceeded the Southern 90th percentile ($1,196,284.55) by approximately $508,000.00.

103. In FY 2014, his compensation to collections ratio was approximately 1.21----far
above the national 90th percentile of .86. His collections per wRVU were $81.34---below

the national 25th percentile ($85.76) for sports medicine orthopedic surgeons. Yet his

compensation per wRVU was approximately $98.07---nearly at the national 90th percentile

($101.87).


                                      Dr. Vann

104. For FY 2014 ending August 31, 2014, Dr. Vann, a sports medicine orthopedic
surgeon, was paid approximately $1.83 million. His compensation exceeded the national

90th percentile ($1,104,664.36) by approximately $726,000.00 and exceeded the Southern

90th percentile compensation ($1,196,284.55) by approximately $635,000.00.

105. In FY 2014, his compensation to collections ratio was approximately 1.22----far
above the national 90th percentile of .86. His collections per wRVU were $80.02---below

the national 25th percentile ($85.76) for sports medicine orthopedic surgeons. Yet his

compensation per wRVU was approximately $98.07---nearly at the national 90th percentile

of $101.87.


                                      Dr. Koch

106. For Fiscal Year (FY) 2014 ending August 31, 2014, Dr. Koch, a sports medicine
orthopedic surgeon, was paid approximately $492,000. He worked only 5,017 wRVUs and

his collections per wRVU were $77.69---placing him at the national 10th percentile for




                                          29
 6:18-cv-01932-DCC         Date Filed 07/16/18       Entry Number 1         Page 30 of 54




sports medicine orthopedic surgeons ($75.52). Yet his compensation per wRVU was

approximately $98.07---just under the national 90th percentile ($101.87).

107. In FY 2014, the collections for Dr. Koch’s services totaled $389,835.21. His
collections were below the national 10th percentile ($455,926.20). His compensation to

collections ratio was approximately 1.26----far above the national 90th percentile of .86

according to MGMA data.




                                        Dr. Paylor

108. For FY 2014 ending August 31, 2014, Dr. Paylor, a sports medicine orthopedic
surgeon, was paid approximately $856,000. He worked approximately 8,726 wRVUs---

placing him between the national 25th percentile and national median. His collections per

wRVU were $80.07---placing him between the national 10th percentile and 25th percentiles

for sports medicine orthopedic surgeons. Yet his compensation per wRVU was

approximately $98.07---just under the national 90th percentile ($101.87).

109. In FY 2014, the collections for Dr. Paylor’s services totaled $698,662.11---below
the national 25th percentile ($725,938.87). His compensation to collections ratio was

approximately 1.22----far above the national 90th percentile of .86.


                                        Dr. Lucas

110. For FY 2014 ending August 31, 2014, Dr. Lucas, an orthopedic spine surgeon, was
paid approximately $999,000. In FY 2014, the collections for Dr. Lucas’ services totaled

$684,923.29---between the national 10th percentile and 25th percentile. His compensation




                                            30
 6:18-cv-01932-DCC          Date Filed 07/16/18          Entry Number 1    Page 31 of 54




to collections ratio was approximately 1.46----far above the national 90th percentile of 1.06

according.

111. He worked 10,189.28 wRVUs---placing him between the national 10th percentile
and 25th percentile for spine surgeons.

112. His collections per wRVU were $67.22---right at the national 10th percentile
($66.56). Yet his compensation per wRVU was approximately $98.07---right at the

national 90th percentile ($99.67).


                                          Dr. Van Pelt

113. For FY 2014 ending August 31, 2014, Dr. Van Pelt, an orthopedic spine surgeon,
was paid approximately $1.16 million. In FY 2014, the collections for Dr. Van Pelt’s

services totaled $794,725.36. His collections placed him between the national 10th

percentile and 25th percentile for spine surgeons. Yet his total compensation placed him

between the national 75th and 90th percentiles.

114. His compensation to collections ratio was approximately 1.46----far above the
national 90th percentile of 1.06.

115. He worked 11,839.37 wRVUs---placing him just over the national median for spine
surgeons (11,586.20). Yet his total compensation placed him between the national 75th and

90th percentiles.

116. His collections per wRVU were $67.13---right at the national 10th percentile
($66.56). Yet his compensation per wRVU was approximately $98.07---right at the

national 90th percentile ($99.67).


                                          Dr. Batson



                                              31
 6:18-cv-01932-DCC          Date Filed 07/16/18       Entry Number 1    Page 32 of 54




117. For FY 2014 ending August 31, 2014, Dr. Batson, an orthopedic hand surgeon, was
paid approximately $655,000. In FY 2014, the collections for Dr. Batson’s services totaled

$583,323.42 or just above the national 10th percentile ($559,481.38).

118. His compensation to collections ratio was approximately 1.12----above the national
90th percentile of .97 according to MGMA data.

119. His collections per wRVU were $87.39---just over the national 25th percentile
($82.23) for hand surgeons. Yet his compensation per wRVU was approximately $98.07--

-just under the national 90th percentile ($102.03).




                                         Dr. Tanner

120. For FY 2014 ending August 31, 2014, Dr. Tanner, an orthopedic hand surgeon, was
paid approximately $697,000. In FY 2014, the collections for Dr. Tanner’s services totaled

$562,234.90 or just above the national 10th percentile ($559,481.38).

121. His compensation to collections ratio was approximately 1.24---above the national
90th percentile of .97.

122. His collections per wRVU were $79.15---just under the national 25th percentile
($82.23) for hand surgeons. Yet his compensation per wRVU was approximately $98.07--

-right at the national 90th percentile ($102.03).

123. His wRVUs of 7,103.16 placed him just over the national 25th percentile (6,819.39).
Yet his compensation of approximately $697,000 placed him just under the national 75th

percentile ($724,590.75).



                                              32
 6:18-cv-01932-DCC         Date Filed 07/16/18       Entry Number 1     Page 33 of 54




                                      Dr. Jernigan

124. For FY 2014 ending August 31, 2014, Dr. Jernigan, an orthopedic shoulder and
elbow surgeon, was paid approximately $683,000. In FY 2014, the collections for Dr.

Jernigan’s services totaled $529,750.56.

125. His compensation to collections ratio was approximately 1.29. His collections per
wRVU were $76.09. Yet his compensation per wRVU was approximately $98.07.




        Supplemental Bonus Payments Have Been Budgeted and Disguised as
                                  Revenues

126. The “St. Francis Physician Services Piedmont Orthopedic Associates Statement of
Revenue & Expense Fiscal Year 2014” confirms supplemental bonus payments of

$4,213,333 to the orthopedic surgeons in that year. The bonus payments were budgeted at

$351,111.00 per month---apparently based on the prior year’s bonus payments to the

orthopedic surgeons.

127. The Statement lists the supplemental bonus payments as “Practice Factor
Adjustment.” The supplemental bonus payments are listed as revenues for the orthopedic

surgeons and included in the total of “Adjusted Net Revenue” for the practice group. Under

the category “Year End Financial Performance,” the columns are left blank.

128. The bonus payments were disguised as revenues from physician services. This
accounting maneuver was deceptive and inaccurate.

129. The Statement also confirms that the orthopedic surgeons were also paid “Monthly
Productivity Comp” for FY 2014 and lists these payments each month with a total of $5.2

million for the year.



                                           33
 6:18-cv-01932-DCC         Date Filed 07/16/18     Entry Number 1          Page 34 of 54




130. This Statement corresponds to the compensation terms in the Employment
Agreements under which each orthopedic surgeon has been paid a base salary, productivity

compensation based on wRVUs, and bonus compensation based on net practice revenues

plus the $3.95 million supplemental bonus payment.


          The POA Orthopedic Surgeons Do Not Satisfy “Group Practice”
                         Exception Under Stark Laws

131. Stark laws provide certain exceptions for group practices if they comply with
federal requirements. The terms of employment and compensation for the orthopedic

surgeons do not satisfy the “group practice” exception under Stark laws.

132. First, each of the orthopedic surgeons has been an employee of the hospital system.
The applicable exception under Stark laws is the employee exception discussed above. The

excessive compensation terms have violated federal requirements for employees under

Stark laws.

133. Secondly, the hospital system’s relationship with the employed orthopedic
surgeons does not satisfy the “group practice” exception under Stark laws. The orthopedic

surgeons have received bonus payments based in part on revenues from their referrals for

ancillary services. The in-office ancillary services exception permits physicians in

qualifying group practices to refer Designated Health Services (“DHS”) within the group.

The exception imposes supervision, location, and billing requirements.

134. Generally, in-office ancillary services must be furnished in either the “same
building” where the referring physician or his or her group practice provides professional

services, or in a “centralized building” used to provide off-site DHS. 42 C.F.R.

§411.355(b)(2).



                                           34
 6:18-cv-01932-DCC           Date Filed 07/16/18       Entry Number 1        Page 35 of 54




135. To qualify under the in-office ancillary services exception, Designated Health
Services must be provided personally by the referring physician, a physician who is a

member of the same practice group as the referring physician, an individual supervised by

the referring physician or another physician in the referring physician’s group practice. 42

C.F.R. §411.355(a).

136. Yet under the bonus terms of the Employment Agreements, in calculating losses or
gains of the practice, “Net charges are determined based on actual payments received for

that month and YTD as a percentage of gross charges (gross charges produced by

physicians, nurse practitioners, physician assistants, physical therapists) as well as in-office

laboratory & radiology and other in-office ancillary procedures as they may change from

time-to-time.” Employment Agreement, Exhibit 4.1.1, Par. 3, page 23. Therefore, net

charges included laboratory, radiology, and other in-office “ancillary procedures.” The

orthopedic surgeons did not perform all of these services. Nor are the surgeons qualified to

supervise laboratory or physical therapy services.

137. The Stark law’s billing standard for in-office ancillary services requires that the
Designated Health Services be billed by one of the following: (1) the physician performing

or supervising the service, (2) the group practice of which such physician is a member, or

(3) an entity that is wholly owned by the referring or supervising physician or the referring

or supervising physician’s group practice. 42 C.F.R. §411.355(b)(3).

138. The employment arrangement with POA surgeons has not satisfied this
requirement. Under the terms of the Employment Agreements with each orthopedic

surgeon, the hospital system billed and collected all charges for services, not the orthopedic




                                              35
    6:18-cv-01932-DCC       Date Filed 07/16/18       Entry Number 1        Page 36 of 54




surgeons or the orthopedic practice group.7


            Compliance with Stark Is Condition of Each Federal Payment


139. Compliance with the Stark laws is a mandatory condition of healthcare providers’
enrollment in federal health care programs, a mandatory condition of every claim submitted

by providers to federal health care programs, and a mandatory condition of every payment

made to providers by federal health care programs.

140. Federal health care programs include patients covered under Medicare, Medicaid,
or TRICARE in addition to federal employees and retired federal employees.


           Compliance with Stark is Condition of Each Medicare Payment

141. Medicare covers the costs of certain medical services for persons aged 65 years or
older and those with disabilities.

142. Medicare is divided into four parts. Medicare Part A authorizes payment for
institutional care, including hospital, skilled, nursing facility, and home health care. See 42

U.S.C. §§ 1395c-1395i-4. Part B authorizes payment for outpatient health care expenses,

including physician fees. See 42 U.S.C. §§ 1395-1395w-4.

143. HHS is responsible for the administration and supervision of Medicare. The Centers
for Medicare and Medicaid Services (“CMS”) is an agency of HHS and is directly




7   Each orthopedic surgeon relinquished the right to bill and collect for his or her
professional services. “All fees or other income attributable to the professional services
rendered by Physician in the course of Physician’s employment by Employer shall be the
income of the Employer and Physician hereby assigns the same to Employer.” Employment
Agreement, Par. 2.5. “Employer shall have the right to bill for, collect, and retain any and
all revenues for patient care services rendered by Physician hereunder.” Id.


                                              36
 6:18-cv-01932-DCC         Date Filed 07/16/18      Entry Number 1       Page 37 of 54




responsible for the administration of Medicare.

144.    CMS makes Medicare payments retrospectively to hospitals for inpatient services.

Medicare enters into provider agreements with hospitals to establish the hospitals’

eligibility to participate in Medicare. Medicare does not prospectively contract with

hospitals to provide particular services for particular patients. Any benefits derived from

those services are derived solely by the patients and not by Medicare or the United States.

145.    Each Defendant has executed at least one provider agreement with CMS in which

they agreed to abide by the Medicare laws, regulations and program instructions…”

CMS Provider/Supplier Enrollment Application, Forms 855-A and 855-B. In the provider

agreement, each Defendant certified its understanding “that payment of a claim by

Medicare is conditioned upon the claim and the underlying transaction complying with

such laws, regulations and program instructions (including, but not limited to, the Federal

anti-kickback statute and the Stark law)…” Id.

146. Upon discharge of Medicare beneficiaries from a hospital, the hospital submits
claims for interim reimbursement for items and services provided to those beneficiaries

during their hospital stays. See 42 C.F.R. §§ 413.1, 413.60, 413.64. Hospitals submit

patient-specific claims for interim payments electronically on a CMS UB-04 Form.

147. The UB-04 Form contains the following notice in bold capital letters: “THE
SUBMITTER OF THIS FORM UNDERSTANDS THAT MISREPRESENTATION OR

FALSIFICATION OF ESSENTIAL INFORMATION AS REQUESTED BY THIS

FORM, MAY SERVE AS THE BASIS FOR CIVIL MONETARY PENALTIES AND

ASSESSMENTS AND MAY UPON CONVICTION INCLUDE FINES AND/OR

IMPRISONMENT UNDER FEDERAL AND/OR STATE LAW(S).”



                                            37
 6:18-cv-01932-DCC         Date Filed 07/16/18       Entry Number 1        Page 38 of 54




148. The UB-04 Form requires the provider to certify the following:

                      “Submission of this claim constitutes certification that the billing
                       information as shown on the face hereof is true, accurate and
                       complete. That the submitter did not knowingly or recklessly
                       disregard or misrepresent or conceal material facts.”
                      “For Medicaid Purposes: The submitter understands that because
                       payment and satisfaction of this claim will be from Federal and State
                       funds, any false statements, documents, or concealment of a material
                       fact are subject to prosecution under applicable Federal or State
                       Laws.”
                      “For TRICARE Purposes: The information on the face of this claim
                       is true, accurate and complete to the best of the submitter’s
                       knowledge and belief, and services were medically [sic] and
                       appropriate for the health of the patient.”

149.    As a condition of payments by Medicare, CMS also requires hospitals to submit

annually a Form CMS-2552, more commonly known as the hospital cost report. A cost

report is the final claim that a provider submits to the fiscal intermediary for items and

services rendered to Medicare beneficiaries.

150.    After the end of each hospital’s fiscal year, the hospital files its cost report with

the fiscal intermediary, stating the amount of reimbursement the provider believes it is due

for the year. See 42 U.S.C. § 13959g); 42 C.F.R. § 413.20. Medicare relies upon the cost

report to determine whether the provider is entitled to more reimbursement than already

received through interim payments, or whether the provider has been overpaid and must

reimburse Medicare. 42 C.F.R. §§ 405.1803, 413.60 and 413.64(f) (1).

151. Each cost report contains mandatory certifications of compliance with Stark laws.
Each hospital cost report contains a “Certification” that must be signed by the chief

administrator of the hospital provider or a responsible designee of the administrator.

152. For each of the fiscal years between 2012 and the present, each cost report
certification page submitted by the Bon Secours Defendants included the following notice:



                                            38
 6:18-cv-01932-DCC           Date Filed 07/16/18       Entry Number 1        Page 39 of 54




“Misrepresentation or falsification of any information contained in this cost report may be

punishable by criminal, civil, and administrative action, fine and/or imprisonment under

Federal law. Furthermore, if services provided in this report were provided or

procured through the payment directly or indirectly of a kickback or were otherwise

illegal, criminal, civil and administrative action, fines and/or imprisonment may

result.” (Emphasis added).

153. On each cost report for each fiscal year from 2012 through the present, the
responsible officer(s) on behalf of the Bon Secours Defendants certified as follows: “I

hereby certify that I have read the above statement [paragraph above] and that I have

examined the accompanying electronically filed or manually submitted cost report….and

that to the best of my knowledge and belief, it [the cost report] is a true, correct, and

complete statement prepared from the books and records of the provider in accordance with

applicable instructions, except as noted. I further certify that I am familiar with the laws

and regulations regarding the provision of health care services, and that the services

identified in this cost report were provided in compliance with such laws and

regulations.” (Emphasis added).

154.    The Bon Secours Defendants were required to certify that their filed cost reports

were (1) truthful, i.e., that the cost information contained in the report is true and accurate,

(2) correct, i.e., that the provider is entitled to reimbursement for the reported costs in

accordance with applicable instructions, (3) complete, i.e., that the cost report is based upon

all knowledge known to the provider, (4) that the services provided in the cost report

were not linked to illegal remuneration for referrals, and (5) that the provider

complied with laws and regulations regarding the provision of health care services,



                                              39
 6:18-cv-01932-DCC         Date Filed 07/16/18     Entry Number 1       Page 40 of 54




such as the Stark laws.

155. In the months following the end of each fiscal year, the Bon Secours Defendants
submitted annual cost reports to CMS and attested to the certifications stated above. The

Bon Secours Defendants submitted cost reports with the certifications stated above for

Fiscal Years 2012, 2013, 2014, 2015, 2016, and 2017.

156.    In addition to the in-patient fees billed by hospitals, physicians also separately

certify on Form CMS-1500 that he or she “understand(s) that payment and satisfaction of

this claim will be from Federal and State funds, and that any false claims, statements, or

documents, or concealment of a material fact, may be prosecuted under applicable Federal

or State laws.”


           Compliance with Stark is Condition of Each Medicaid Payment

157. Medicaid is a joint federal-state program that provides health care benefits
primarily for the poor and disabled. Medicaid is authorized under Title XIX of the Social

Security Act and is administered by each State in compliance with Federal requirements

specified in the Medicaid statute and regulations. “The States operate Medicaid programs

in accordance with Federal laws and regulations and with a State plan that we approve.”

66 Federal Register 857.

158. The federal Medicaid statute sets forth minimum requirements for state Medicaid
programs to qualify for federal funding, which is called federal financial participation

(FFP). 42 U.S.C. §§1396, et seq. As part of such minimum requirements, each state’s

Medicaid program must cover hospital and physician services. See 42 U.S.C. § 1396a

(10)(A), 42 U.S.C. § 1396d (a)(1)-(2), (5).




                                              40
 6:18-cv-01932-DCC          Date Filed 07/16/18        Entry Number 1     Page 41 of 54




159. The federal matching rate for the South Carolina Medicaid Program is
approximately 71 percent.

160. In South Carolina, provider hospitals participating in the Medicaid Program file
annual cost reports with the State’s Medicaid agency, or its intermediary, in a protocol

similar to that governing the submission of Medicare cost reports. Medicaid providers

must incorporate the same type of financial data in their Medicaid cost reports as contained

in their Medicare cost reports.

161. Within such Medicaid cost reports, hospitals must certify the accuracy of the
information provided and certify compliance with Medicaid laws and regulations,

including compliance with the Stark laws.

162. The South Carolina Medicaid Program uses the Medicaid patient data in the cost
reports to determine the payments due each facility.

163. The Bon Secours Defendants submitted claims to Medicaid that were based in part
on their Medicaid cost reports and their false certifications of compliance with the Stark

laws. The South Carolina Medicaid Program relied upon such certifications as mandatory

conditions of payment before paying such claims.

164. Although Stark originally applied only to Medicare claims, it was later expanded
to apply to Medicaid claims. The Medicaid statute imposes limits on referrals and

reimbursements similar to Stark laws. Specifically, 42 U.S.C. 1396b(s) titled "Limitations

on certain physician referrals," provides,

               No payment shall be made to a State under this section for expenditures for

               medical assistance under the State plan consisting of a designated health

               service (as defined in subsection (h)(6) of section 1395nn of this title)



                                             41
 6:18-cv-01932-DCC          Date Filed 07/16/18       Entry Number 1        Page 42 of 54




               furnished to an individual on the basis of a referral that would result in the

               denial of payment for the service under subchapter XVIII of this chapter if

               such subchapter provided for coverage of such service to the same extent

               and under the same terms and conditions as under the State plan.

165. Subchapter XVIII governs the Medicare program, including Stark laws. The
substantive prohibitions contained in the Stark laws are therefore applicable to claims

submitted to Medicaid.

166. CMS cannot pay federal financial participation funds for services provided under
Medicaid if the payment would be prohibited under Medicare due to an illegal referral in

violation of Stark laws. The only difference between holding a defendant liable for Stark-

predicated FCA violations based on Medicare claims and those based on Medicaid claims

is that the former are submitted to the federal government directly, while the latter are

submitted to the states, which in turn receive federal funding to help pay the claims. It does

not matter for purposes of the False Claims Act whether a claim is submitted to an

intermediary or directly to the United States. See 31 U.S.C. 3729(b)(2) (defining an FCA

"claim" to include requests for payments submitted "to a contractor, grantee, or other

recipient, if the money . . . is to be spent or used . . . to advance a Government program or

interest").

167. Moreover, even if its own Medicaid claims to South Carolina did not create FCA
liability, Defendants would still be liable for causing South Carolina to submit a claim in

violation of Stark laws to the federal government. Causing a third party to present a false

claim or use a false record creates FCA liability just as if the defendant had presented or

used the claim or record itself. See 31 U.S.C. 3729(a)(1)(A-B).



                                             42
 6:18-cv-01932-DCC          Date Filed 07/16/18      Entry Number 1        Page 43 of 54




168. A false claim submitted to the Medicaid program is a false claim presented to the
United States. Given the structure of the Medicaid, Medicare, and TRICARE systems, the

natural and foreseeable consequence of submitting a false claim to any of them is that the

United States will provide funds to pay the false claim. Given the comprehensive funding

and reimbursement structure between the states and federal government under the

Medicaid scheme, claims that are submitted to Medicaid are claims to the federal

government.


          Compliance with Stark is Condition of Each TRICARE Payment


169. The Bon Secours Defendants also enrolled in and sought payments from the
Civilian Health and Medical Program of the Uniformed Services, known as TRICARE

Management Activity/CHAMPUS (“TRICARE/CHAMPUS”).

170. TRICARE is a federally funded program that provides medical benefits, including
hospital services, to certain relatives of active duty, deceased, and retired service members

or reservists, as well as to retirees. TRICARE sometimes provides for hospital services at

non-military facilities for active duty service members as well. See 10 U.S.C. §§ 1071-

1110; 32 C.F.R. § 199.4(a). The Bon Secours Defendants have received revenues from the

TRICARE Program.

171.    In addition to individual patient costs, TRICARE pays hospitals for two types of

costs, both based on the Medicare cost report: capital costs and direct medical education

costs. See 32 C.F.R. § 199.6.

172.    A provider seeking reimbursement from TRICARE for these costs is required to

submit a TRICARE form, “Request for Reimbursement of CHAMPUS Capital and Direct




                                            43
 6:18-cv-01932-DCC           Date Filed 07/16/18     Entry Number 1       Page 44 of 54




Medical Education Costs” (“Request for Reimbursement”), in which the provider sets forth

the number of patient days and financial information related to these costs. These costs are

derived from the provider’s Medicare cost report.

173.       The Request for Reimbursement requires that the provider certify that the

information contained therein “is accurate and based upon the hospital’s Medicare cost

report.”

174.       Upon receipt of a provider’s Request for Reimbursement, TRICARE or its fiscal

intermediary applies a formula for reimbursement wherein the provider receives a

percentage of its capital and medical education costs equal to the percentage of TRICARE

patients in the hospital.

175.       The Bon Secours Defendants submitted Requests for Reimbursement to TRICARE

that were based on their Medicare cost reports. Whenever the Medicare cost reports of the

Bon Secours Defendants contained false information or false certifications from which they

derived their Requests for Reimbursement submitted to TRICARE, those Requests for

Reimbursement were also false.

176. On each occasion when the Bon Secours Defendants’ Requests for Reimbursement
were false due to falsity in its Medicare cost reports, the Bon Secours Defendants falsely

certified that the information contained in its Requests for Reimbursement was “accurate

and based upon the hospital’s Medicare cost report.”

177. The Bon Secours Defendants knew that false claims contained in their Medicare
cost reports would affect TRICARE/CHAMPUS payments as well and result in damages

to the federal government.




                                            44
    6:18-cv-01932-DCC        Date Filed 07/16/18       Entry Number 1        Page 45 of 54




                                   The False Claims Act

178.    The False Claims Act establishes liability, inter alia, for anyone who "knowingly

presents, or causes to be presented, to an officer or employee of the United States

Government . . . a false or fraudulent claim for payment or approval," 31 U.S.C. §

3729(a)(1)(A), or "knowingly makes, uses, or causes to be made or used, a false record or

statement material8 to a false or fraudulent claim,” 31 U.S.C. § 3729(a)(1)(B), or "knowingly

makes, uses, or causes to be made or used, a false record or statement material to an obligation

to pay or transmit money or property to the Government, or knowingly conceals or knowingly

and improperly avoids or decreases an obligation9 to pay or transmit money or property to the

Government.” 31 U.S.C. § 3729(a)(1)(G).

179.    The False Claims Act defines “claim” to include “any request or demand, whether

under a contract or otherwise, for money or property and whether or not the United States

has title to the money or property, that…is presented to an officer, employee or agent of

the United States…or is made to a contractor, grantee or other recipient, if the money or

property is to be spent on the Government’s behalf or to advance a Government program,

and if the United States Government…provides or has provided any portion of the money

or property requested or demanded…or will reimburse such contractor, grantee, or other

recipient for any portion of the money or property which is requested or demanded.” 31



8
  “The term ‘material’ means having a natural tendency to influence. Or be capable of
influencing, the payment or receipt of money or property.” 31 U.S.C. § 3729(b)(4).
9
  The False Claims Act defines “obligation” as “an established duty, whether or not fixed,
arising from an express or implied contractual, grantor-grantee, or licensor-licensee
relationship, from a fee-based or similar relationship, from statute or regulation, or from
the retention of any overpayment.” 31 U.S.C. § 3729(b)(3).



                                              45
 6:18-cv-01932-DCC          Date Filed 07/16/18       Entry Number 1        Page 46 of 54




U.S.C. § 3729(b)(2).

180.    Statutory liability under the False Claims Act includes a civil penalty “not less than

$5,500 and not more than $11,000” per false claim “plus 3 times the amount of damages

which the Government sustains because of the act of that person.” 31 U.S.C. § 3729(a).

181.    Under the False Claims Act, “’knowing’ and ‘knowingly’ mean that a person, with

respect to information (1) has actual knowledge of the information; (2) acts in deliberate

ignorance of the truth or falsity of the information; or (3) acts in reckless disregard of the

truth or falsity of the information, and require no proof of specific intent to defraud.” 31

U.S.C. § 3729 (b)(1)(A).

182.    In considering the requisite scienter which subjects a defendant to liability under

the False Claims Act, “no proof of specific intent to defraud” is required. 31 U.S.C. 3729

(b)(1)(B). A defendant is liable for acting in “reckless disregard of the truth or falsity of

the information” or acting in “deliberate ignorance of the truth or falsity of the

information.” 31 U.S.C. 3729 § (b)(1)(A).


  Count I---Presenting or Causing False Claims in Violation of 31 U.S.C. § 3729(a)
                           (1)(A) Against All Defendants

183. Relator repeats and realleges the allegations and statements contained in all of the
preceding paragraphs as though fully set forth herein.

184. In pertinent part, the federal False Claims Act establishes liability for “any person
who…knowingly presents, or causes to be presented, a false or fraudulent claim for

payment or approval.” See 31 U.S.C. § 3729(a)(1)(A).




                                             46
 6:18-cv-01932-DCC          Date Filed 07/16/18       Entry Number 1        Page 47 of 54




185. Defendants knowingly or in reckless disregard or deliberate ignorance of the truth
or falsity of the information involved, presented or caused to be presented false claims “for

payment or approval” to the United States in violation of 31 U.S.C. § 3729(a)(1)(A).

186. This is a claim for treble damages and penalties under the federal False Claims Act,
31 U.S.C. § 3729, et seq.

187. Through the acts described above, the Bon Secours Defendants knowingly or in
reckless disregard or deliberate ignorance of the truth or falsity of the information involved,

presented or caused to be presented, false claims to officers, employees or agents of the

United States Government, within the meaning of 31 U.S.C. § 3729(a)(1)(A).

188. The United States was unaware of the falsity of the records, statements and claims
made or caused to be made by Defendants. In reliance on the accuracy of the claims,

information, records, and certifications submitted by Defendants, the United States paid

claims that would not be paid if Defendants’ illegal conduct was known.

189. As a result of Defendants’ acts, the United States has sustained damages in a
substantial amount to be determined at trial.

190. Additionally, the United States is entitled to civil penalties for each false claim
made or caused to be made by Defendants arising from their illegal conduct as described

above.


 Count II--- Use of False Statements in Violation of 31 U.S.C. 3729(a)(1)(B) Against
                                  All Defendants


191. Relator repeats and realleges the allegations and statements contained in all of the
preceding paragraphs as though fully set forth herein.




                                             47
 6:18-cv-01932-DCC           Date Filed 07/16/18      Entry Number 1        Page 48 of 54




192. In pertinent part, the False Claims Act Claims Act establishes liability for “any
person who…knowingly makes, uses, or causes to be made or used, a false record or

statement material to a false or fraudulent claim.” See 31 U.S.C. § 3729(a)(1)(B).

193. This is a claim for treble damages and penalties under the federal False Claims Act,
31 U.S.C. § 3729, et seq., as amended.

194. Through the acts described above, Defendants knowingly made, used, or caused to
be made or used, false records and statements. Through the acts described above,

Defendants knowingly made, used, or caused to be made or used, false records and

statements, and omitted material facts, to get false claims paid or approved, within the

meaning of 31 U.S.C. § 3729(a)(1)(B). The records were false in that they purported to

show compliance with Stark laws.

195. Defendants knowingly made, used, or caused to be made or used false records or
statements with the intent to get or cause these false claims to be paid by the United States.

196. The United States was unaware of the falsity of the records, statements,
certifications, and claims made or caused to be made by Defendants. The United States

paid claims that would not be paid if Defendants’ illegal conduct was known.

197. By virtue of the false records or false claims made by Defendants, the United States
sustained damages and therefore is entitled to treble damages under the False Claims Act

to be determined at trial.

198.      Additionally, the United States is entitled to civil penalties for each false claim

made and caused to be made by Defendants arising from their illegal conduct as described

above.


       Count III--- Conspiring to Submit False Claims in Violation of 31 U.S.C. §


                                             48
 6:18-cv-01932-DCC          Date Filed 07/16/18      Entry Number 1       Page 49 of 54




                          3729(a)(1)(C) Against All Defendants

199. Relator repeats and realleges the allegations and statements contained in all of the
preceding paragraphs as though fully set forth herein.

200. In pertinent part, the federal False Claims Act establishes liability for “any person
who….conspires to commit a violation of subparagraph (A), (B), (D), (E), (F), or (G).” 31

U.S.C. § 3729(a)(1)(C).

201. This is a claim for penalties and treble damages under the False Claims Act, 31
U.S.C. § 3729, et seq., as amended.

202. Through the acts described above, Defendants acting in concert with each other and
other contractors, agents, partners, and/or representatives, conspired to knowingly present

or cause to be presented, false claims to the United States and knowingly made, used, or

caused to be made or used, false records and statements, and omitting material facts, to get

false claims paid or approved.

203. Defendants conspired to withhold information regarding excessive and illegal
payments to physicians who were in a position to refer and/or influence referrals of

Medicare, Medicaid, and TRICARE patients and federal employees or retired federal

employees to the hospital system.

204. As a result, the United States was unaware of the false claims submitted and caused
by Defendants and the United States paid claims that would not be paid if the Defendants’

illegal conduct was known to the United States.

205. By reason of Defendants’ acts, the United States has been damaged in a substantial
amount to be determined at trial.

206. By virtue of Defendants’ conspiracy to defraud federal health care programs, the


                                            49
 6:18-cv-01932-DCC           Date Filed 07/16/18       Entry Number 1       Page 50 of 54




United States sustained damages and is entitled to treble damages under the False Claims

Act, to be determined at trial, plus civil penalties for each violation.


 Count IV---Submission of Express and Implied False Certifications in Violation of
               31 U.S.C. § 3729(a)(1)(B) Against All Defendants


207. Relator repeats and realleges the allegations and statements contained in all of the
preceding paragraphs as though fully set forth herein.

208. In pertinent part, the False Claims Act establishes liability for “any person
who…knowingly makes, uses, or causes to be made or used, a false record or statement

material to a false or fraudulent claim.” See 31 U.S.C. § 3729(a)(1)(B).

209. Compliance with Stark laws was an explicit condition of each payment under
federal health care programs. For each of the years between 2012 and the present,

Defendants explicitly and implicitly certified compliance with Stark laws.

210. Defendants’ certifications of compliance with Stark laws were knowingly false.

211. In reliance on the Defendants’ express and implied certifications, the United States
made payments to Defendants under federal health care programs. If the United States had

known that Defendants’ certifications were false, the payments would not have been made

to Defendants for each of the years in question.

212. By virtue of the false records, false statements, and false certifications made by
Defendants, the United States sustained damages and is entitled to treble damages under

the False Claims Act, to be determined at trial, plus a civil penalty for each violation.


   Count V---Knowingly Causing and Retaining Overpayments in Violation of 31




                                              50
 6:18-cv-01932-DCC          Date Filed 07/16/18       Entry Number 1        Page 51 of 54




                       U.S.C. § 3729(a)(1)(G) Against All Defendants


213. Relator repeats and realleges the allegations and statements contained in all of the
preceding paragraphs as though fully set forth herein.

214. The False Claims Act also establishes liability for any person who “knowingly and
improperly avoids or decreases an obligation to pay or transmit money or property to the

Government.” See 31 U.S.C. § 3729(a)(1)(G). The False Claims Act defines “obligation”

as “an established duty, whether or not fixed, arising from an express or implied

contractual, grantor-grantee, or licensor-licensee relationship, from a fee-based or similar

relationship, from statute or regulation, or from the retention of any overpayment.” See 31

U.S.C. § 3729(b)(3).

215. “An entity that collects payment for [Designated Health Services] that was
performed pursuant to a prohibited referral must refund all collected amounts on a timely

basis.” See 42 C.F.R. § 411.353(d).

216. “The OIG may impose a penalty, and where authorized, an assessment against any
person…whom it determines…[h]as not refunded on a timely basis….amounts collected

as the result of billing an individual, third party payer or other entity for a [DHS] that was

provided in accordance with a prohibited referral as described in [42 C.F.R. § 411.353].”

See 42 C.F.R. § 1003.102(b)(9).

217. Defendants have knowingly caused and retained overpayments from federal health
care programs arising from their violations of Stark laws.

218. By virtue of Defendants causing and retaining overpayments from the Medicare
Program, the Medicaid Program, and other federal health care programs, the United States

sustained damages and is entitled to treble damages under the False Claims Act, to be

                                             51
 6:18-cv-01932-DCC           Date Filed 07/16/18       Entry Number 1       Page 52 of 54




determined at trial, plus a civil penalty for each violation.



Count VI--- False Record to Avoid an Obligation to Refund Against All Defendants


219. Relator repeats and realleges the allegations and statements contained in all of the
preceding paragraphs as though fully set forth herein.

220. The False Claims Act also establishes liability for any person who “knowingly and
improperly avoids or decreases an obligation to pay or transmit money or property to the

Government.” See 31 U.S.C. § 3729(a)(1)(G).

221.    Defendants knowingly made and used, or caused to be made or used, false records

or false statements, i.e., the false certifications made or caused to be made by Defendants

in submitting the cost reports, to conceal, avoid, or decrease an obligation to pay or transmit

money or property to the United States.

222. By virtue of the false records or false statements made by the Defendants, the
United States sustained damages and therefore is entitled to treble damages, to be

determined at trial, plus civil penalties for each violation.


                                     Prayers for Relief


223. On behalf of the United States, Relator requests and prays that judgment be entered
against Defendants in the amount of the United States’ damages, trebled as required by

law, such civil penalties as are required by law, for a qui tam relator’s share as specified

by 31 U.S.C. §3730(d), for attorney’s fees, costs and expenses as provided by 31 U.S.C.

§3730(d), and for all such further legal and equitable relief as may be just and proper.

                              Jury trial is hereby demanded.


                                              52
 6:18-cv-01932-DCC         Date Filed 07/16/18      Entry Number 1      Page 53 of 54




This 16th of July 2018.


       _s/William Nettles___________________
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       bryanvroon@gmail.com




                                 Certificate of Service

       This is to certify that I have this day served a copy of the Relator’s Complaint by

depositing a true and correct copy of same by Certified Mail in the United States Mail,

postage prepaid, addressed as follows:

   The Honorable Attorney General Jeff Sessions
   Attorney General of the United States
   Attention: Seal Clerk
   United States Department of Justice
   950 Pennsylvania Avenue NW
   Washington, D.C. 20530-0001

   The Honorable Sherri A. Lydon
   United States Attorney for the District of South Carolina




                                           53
 6:18-cv-01932-DCC            Date Filed 07/16/18   Entry Number 1    Page 54 of 54




   Wells Fargo Building
   1441 Main Street Suite 500
   Columbia, SC 29201


This 16th day of July 2018.


                                                    _s/William Nettles______
                                                    William N. Nettles




                                            54
